             IN THE UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                      ASHEVILLE DIVISION

                          CIVIL NO. 1:08CV294-T-02
                               (1:06CR43-01-T)


ROBERT B. KELLER,                        )
                                         )
            Petitioner,                  )
                                         )
            vs.                          )     JUDGMENT
                                         )
UNITED STATES OF AMERICA,                )
                                         )
         Respondent.                     )
______________________________           )


     For the reasons set forth in the Memorandum and Order filed

herewith,

     IT IS, THEREFORE, ORDERED, ADJUDGED, AND DECREED that

the Petitioner’s motion to vacate, set aside or correct judgment pursuant to

§ 2255 is GRANTED IN PART.

     IT IS FURTHER ORDERED, ADJUDGED, AND DECREED that the

Petitioner’s conviction is AFFIRMED, his sentence is hereby VACATED,

but he shall remain in the custody of the Attorney General of the United

States. The Clerk of Court shall prepare an amended judgment which

contains the same terms and provisions as that of the original judgment.



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      IT IS FURTHER ORDERED that, with entry of the Amended

Judgment in a Criminal Case, notice of appeal is deemed to be filed on

behalf of the Petitioner and the appointment of appellate counsel is

respectfully referred to the Fourth Circuit Court of Appeals.

      IT IS FURTHER ORDERED that the Petitioner’s remaining claim that

his counsel was ineffective for having failed to challenge the firearm

enhancement is hereby DISMISSED WITHOUT PREJUDICE.



                                      Signed: July 10, 2008




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